    Case 2:17-cv-02997-SSV-JCW Document 29 Filed 11/02/17 Page 1 of 1




                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA


WILLIAM WILSON, JR.                                       CIVIL ACTION

VERSUS                                                          NO. 17-2997

NICHOLAS GREST, ET AL.                                  SECTION “R” (4)


                             JUDGMENT

    Considering the Court’s order and reasons on file herein,

    IT IS ORDERED, ADJUDGED AND DECREED that plaintiff’s

complaint is DISMISSED WITH PREJUDICE.

      New Orleans, Louisiana, this _____
                                    2nd day of November, 2017.




                    _____________________
                         SARAH S. VANCE
                  UNITED STATES DISTRICT JUDGE
